Case 21-04729 Doci68 Filed 06/25/21 Entered 06/25/21 13:55:10 Desc Main
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June 18, 2021

Clerk

U.S. Bankruptcy Court for the
Northern District of Illinois

219 S. Dearborn

Chicago, IL 60604

Re: In re Crave Brands, LLC, Case No. 21-04729
In re Meathead Restaurants, LLC, Case No. 21-04731

Dear Sir or Madam:

Please be advised that effective immediately, all notices, pleadings and correspondence to
Alpha Baking Company should be sent to the following:

Old Address New Address

North Shore Gas Company North Shore Gas Company
PO Box 2968 PO Box 6050

Milwaukee, Vi 53201 Carol Stream, iL 60197-6050
Comcast Comcast

PO Box 3001 PO Box 70219
Southeastern, PA 19398 Phitadeiphia, PA 19176-0219
Peoples Gas Peoples Gas

PO Box 2968 PO Box 6050

Milwaukee, Wi 53201 Carol Stream, IL 60197-6050

If you have any questions, please feel free to call me.

Very truly yours,

Thompson Coburn LLP
RFit. HR
UNITED STATES BANKRUPTCY COURT

DA NORTHERN DISTRICT OF ILLINOIS

By JUN 25 2021.

David A. Warfield

JEFFREY P, ALLSTEADT, CLERK
DAWilam INTAKE 2
